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                                   7                                 UNITED STATES DISTRICT COURT

                                   8                                NORTHERN DISTRICT OF CALIFORNIA

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                                        USA,
                                  10                                                        Case No. 20-cr-00249-RS-1
                                                       Plaintiff,
                                  11
                                                v.                                          ORDER DENYING MOTION TO
                                  12                                                        COMPEL
Northern District of California
 United States District Court




                                        ROWLAND MARCUS ANDRADE,
                                  13
                                                       Defendant.
                                  14

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                                  16           Of the twenty-five requests defendant Rowland Marcus Andrade (“Andrade”) initially

                                  17   lodged in this motion to compel, only one—for production of the government’s legal instructions

                                  18   to the grand jury—remains. Compare Dkt. 33, with Dkt. 40. Because such instructions constitute

                                  19   “a matter occurring before the grand jury,” they presumptively are subject to Rule 6(e)’s secrecy

                                  20   provisions. Fed. R. Crim. P. 6(e). Andrade’s request therefore cannot be granted absent a showing

                                  21   of “particularized need.” See Douglas Oil Co. of California v. Petrol Stops Nw., 441 U.S. 211, 228

                                  22   (1979). Rather than making such a showing here, Andrade recites circumstances common to

                                  23   many, if not most, federal defendants. See generally Dkt. 40 at 9 (noting that “the stakes are . . .

                                  24   high” for Andrade, and that the government “may have . . . made erroneous statements during its

                                  25   instructions to the grand jury”). The motion accordingly is denied.

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                                  27   IT IS SO ORDERED.

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                                   1   Dated: January 26, 2021

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                                                                  RICHARD SEEBORG
                                   3                              United States District Judge
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Northern District of California
 United States District Court




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                                  28                                                     << SHORT ORDER TITLE >>
                                                                                     CASE NO. 20-cr-00249-RS-1
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